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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     In re:
                                                                   Chapter 11
                                         1
     Stream TV Networks, Inc. et al.
                                                                   Bky Case No. 23-10763 (AMC)
                  The Debtors.                                     (Jointly Administered)


              SECOND NOTICE OF ORAL DEPOSITION SUBPOENA DUCES TECUM
                  OF WILLIAM A. HOMONY AS THE CHAPTER 11 TRUSTEE

              PLEASE TAKE NOTICE THAT pursuant to Federal Rules of Bankruptcy Procedure

 7030 and 9016 and Federal Rules of Civil Procedure 30 and 34, Visual Semiconductor, Inc.

 (“VSI”), by and through undersigned counsel, will take oral deposition subpoena duces tecum of

 William A. Homony as the Chapter 11 Trustee (the “Trustee”). The Trustee's deposition will

 begin on October 29, 2024 at 10:00 a.m. (Eastern Time) and will continue day to day until

 completed, at the law office of Akerman LLP located at 222 Delaware Avenue, Suite 1710,

 Wilmington, Delaware 19801. The Trustee's deposition will be conducted under oath before a

 certified court reporter, recorded stenographically and may be videotaped.

              The Trustee is to testify as to the following topics:

                 1. The Trustee's efforts to evaluate the claims of Hawk Investment Holdings, Ltd.
                    (“Hawk”), SLS Holdings VI, LLC (“SLS”), and SeeCubic, Inc. (“SeeCubic”);

                 2. The Trustee's communications and business dealings with VSI and its principals;

                 3. The Trustee's evaluation of Debtors' business operations, prospects, and options;

                 4. The Trustee's investigation and evaluation of Debtors' intellectual property assets
                    and rights, including but not limited to the Debtors' license agreements with
                    Rembrandt (as defined in Schedule A) and Philips (as defined in Schedule A);



 1
  The Debtors, together with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). The location of the Debtors’ service address is: 2009
 Chestnut Street, 3rd Floor, Philadelphia, PA 19103.


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              5. The Trustee's Motion for Turnover and Sanctions (ECF No. 646) filed against
                 VSI;

              6. The Trustee's settlement efforts and settlement with Hawk;

              7. VSI's Motion for Reconsideration of the Order Granting the Trustee's Settlement
                 Agreement with Hawk (ECF No. 686) and any and all responses thereto;

              8. Temporary Restraining Order entered on January 4, 2024 in Adversary
                 Proceeding No. 23-0057, styled Stream TV Networks Inc, et al vs. Shadron L.
                 Stastney, et al (ECF No. 119);

              9. Application of the Chapter 11 Trustee to Employ SSG Advisors, LLC as Investor
                 Banker [ECF. No. 715]; and

              10. Motion of William A. Homony in his Capacity as Chapter 11 Trustee for (I) an
                  Order (A) Approving the Bidding Procedures and Form of Asset Purchase
                  Agreement for the Sale of Substantially all of the Debtors' Assets Including
                  Approval of Provisions for Designation of a Stalking Horse, (B) Establishing the
                  Notice Procedures and Approving the Form and Manner of Notice Thereof and
                  Scheduling an Auction, (C) Approving Procedures for the Assumption and
                  Assignment of Certain Executory Contracts and Unexpired Leases,
                  (D) Scheduling a Sale Hearing, (E) Granting Expedited Consideration Pursuant
                  to Local Rule of Bankruptcy Procedure 5070-1(g); and (F) Granting Related
                  relief, and (II) An Order (A) Approving the Sale of the Debtors' Assets Free and
                  Clear of All Liens, Claims, Encumbrances, and Other Interests, (B) Approving the
                  Assumption and Assignment of Certain Executory Contracts and Unexpired
                  Leases Related Thereto, and (C) Granting Related Relief [ECF No. 750].

                                             Duces Tecum

          The Trustee is further requested to produce all documents described on the Subpoena. In

 order to expedite the deposition, please deliver via electronic transmission, copies of the

 documents, electronically stored information, or objects described in the attached “Schedule A”

 to    the    undersigned    counsel    at   the   Austin,   Texas   address   or   via   email   to

 adam.swick@akerman.com by October 24, 2024.




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 Dated: October 11, 2024                  Respectfully submitted,
                                          AKERMAN LLP

                                           /s/ R. Adam Swick
                                          Donald N. David, SBN: 304846
                                          1251 Avenue of the Americas
                                          37th Floor
                                          New York, NY 10020
                                          Telephone: (212) 880-3800
                                          Facsimile: (212) 880-8965
                                          Email: donald.david@akerman.com
                                          -and-
                                          R. Adam Swick (admitted pro hac vice)
                                          AKERMAN LLP
                                          500 West 5th Street, Suite 1210
                                          Austin, TX 78701
                                          Telephone: (737) 999-7103
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                                          Email: adam.swick@akerman.com
                                          -and-
                                          John H. Thompson (admitted pro hac vice)
                                          AKERMAN LLP
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                                          Washington, D.C. 20001
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                                          Facsimile: (202) 393-5959
                                          Email: john.thompson@akerman.com

                                          Attorneys for Visual Semiconductor, Inc.




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 11, 2024, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF

 to those parties registered to receive electronic notices of filing in this case, and via email to the

 Trustee as follows:

 William A. Homony as the Chapter 11                William A. Homony as the Chapter 11 Trustee
 Trustee                                            c/o Edmond M. George
 MILLER COFFEY TATE LLP                             Michael D. Vagnoni
 1628 John F. Kennedy Blvd., Ste 950                OBERMAYER REBMANN MAXELL & HIPPEL LLP
 Philadelphia, PA 19103                             Centre Square West
 bhomony@mctllp.com                                 1500 Market Street, Suite 3400
                                                    Philadelphia, PA 19102
                                                    Michael.vagnoni@obermayer.com



                                                         /s/ R. Adam Swick
                                                            R. Adam Swick




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                                         SCHEDULE “A”

 I.       Instructions

          A.     This document request is continuing in nature and when new knowledge or
                 information comes to the attention of the deponent the information supplied in the
                 answers to the document request shall be supplemented forthwith.

          B.     For each and every Request herein, you shall produce documents in your
                 possession, custody, or control, which shall include but be limited to, documents,
                 objects or articles described that are in your possession or that you have the right
                 to secure the original or a copy from another person or entity. The fact that your
                 investigation is continuing or discovery is incomplete is not an excuse for your
                 failure to respond to each request as fully and completely as possible. Your
                 responses should consist of information known to you through yourself, your
                 agents, your attorneys, your employees, or your representatives. All documents
                 produced pursuant to this request are to be produced as they are kept in the usual
                 course of business, and shall be organized and labeled (without permanently
                 marking the item produced) so as to correspond with the categories of each
                 numbered request hereof. If copies or drafts exist of a document, the production
                 of which has been requested herein, produce and submit for inspection and
                 copying each and every copy and draft which differs in any way from the original
                 document or from any copy or draft.

          C.     If you at any time you had possession, custody, or control of any document
                 requested herein, and such document has been lost, destroyed, discarded, or is not
                 presently in your possession, these documents shall be identified as completely as
                 possible, including:

                        The names of the authors of the document;
                        The names of the persons to whom the documents or copies were sent;
                        The date of the document;
                        The date on which the document was received by each addressee, copyee
                         or its recipients;
                        A description of the nature and subject matter of the document that is as
                         complete as possible;
                        The date on which the document was lost, discarded or destroyed; and
                        The manner in which the document was lost, discarded or destroyed.

          D.     With respect to any document that deponent withholds under claim of privilege,
                 the deponent shall number such documents, hold them separately, and retain them
                 intact pending a ruling by the Court on the claimed privilege. In addition, the
                 deponent shall provide a statement, signed by an attorney representing the
                 deponent, setting forth as to each such document:

                        The names of the senders or the document;
                        The names of the authors of the document;


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                     The names of the persons to whom the document or copies were sent;
                     The job title of every person named in subparagraphs 1, 2 and 3 above;
                     The date of the document;
                     The date on which the document was received by each addressee, copyee
                      or its recipient;
                     A brief description of the nature and subject matter of the document; and
                     The statute, rule or decision which is claimed to give rise to the privilege.

          E.   If you cannot, after exercising due diligence to secure or produce the document(s)
               requested, you must identify which Request(s) that you do not have any
               responsive documents for, and answer the request for production to the fullest
               extent possible, specifying your inability to produce the document(s), providing
               the identity of the person who has possession, custody, or control of the requested
               document(s).

          F.   All words in this request for production shall have their plain and ordinary
               meanings unless specifically defined herein below in Part II of this Request.

          G.   Copies of documents which are identical duplicates of other documents which
               have already been produced for inspection and copying in this action need not be
               produced again, except that the duplicates must be produced if handwritten or any
               other type of notes or similar intelligence appear thereon or are attached thereto,
               including markings on slips indicating the routing of the document to individuals
               or organizations.

          H.   The singular and plural forms shall be construed interchangeably so as to bring
               within the scope of this document request any information which might otherwise
               be construed as outside their scope.

          I.   "And" and "or" shall be construed interchangeably so as to bring within the scope
               of this document request any information which might otherwise might be
               construed as outside their scope.

          J.   "Any" and "all" shall be construed to bring within the scope of this request any
               information which might be construed to relate to the subject matter of the
               request.

          K.   The use of the singular form of any word includes the plural and vice versa.

          L.   All other names or terms herein not specifically defined or identified shall have
               the same meaning as is commonly understood and referred to by and among the
               parties.

          M.   Unless otherwise stated herein, the time period encompassed by this subpoena
               shall be from the Trustee's appointment as Chapter 11 Trustee on January 9, 2024
               to the date of this subpoena.



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 II.      Definitions

          A.     "9019 Settlement" means the Sharing and Carve Out Agreement [ECF No. 630-
                 1].

          B.     "Application to Employ" means the Application of the Chapter 11 Trustee to
                 Employ SSG Advisors, LLC as Investor Banker [ECF. No. 715].

          C.     "Bidding Procedures Motion" means Motion of William A. Homony in his
                 Capacity as Chapter 11 Trustee for (I) an Order (A) Approving the Bidding
                 Procedures and Form of Asset Purchase Agreement for the Sale of Substantially
                 all of the Debtors' Assets Including Approval of Provisions for Designation of a
                 Stalking Horse, (B) Establishing the Notice Procedures and Approving the Form
                 and Manner of Notice Thereof and Scheduling an Auction, (C) Approving
                 Procedures for the Assumption and Assignment of Certain Executory Contracts
                 and Unexpired Leases, (D) Scheduling a Sale Hearing, (E) Granting Expedited
                 Consideration Pursuant to Local Rule of Bankruptcy Procedure 5070-1(g); and
                 (F) Granting Related relief, and (II) An Order (A) Approving the Sale of the
                 Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Other
                 Interests, (B) Approving the Assumption and Assignment of Certain Executory
                 Contracts and Unexpired Leases Related Thereto, and (C) Granting Related Relief
                 [ECF No. 750].

          D.     "Communications" means any electronic, oral, magnetic, or written transmittal or
                 transfer of data, facts, ideas, information, inquiries, or thought.

          E.     "Correspondence" means any letter, note, memorandum, report, notice, facsimile
                 transmission, e-mail transmission, and any documents (as defined in paragraph 1
                 above) that were sent or received from one or more persons to one or more
                 persons, regardless of authorship or origin, including that which was directed as a
                 copy, blind copy, forwarded copy, or sent or received mistakenly.

          F.     "Debtors" means Stream TV Networks, Inc. and Technovative Media, Inc.

          G.     "Deponent," "examinee," "you", and "your" shall mean the Trustee, the party
                 upon whom this subpoena is served, and all of his/her authorized employees,
                 agents, or others purporting to act on behalf of the Trustee.

          H.     "Documents" and/or "records" shall mean, without limiting the generality of this
                 meaning, any writings, papers or tangible things in the possession, custody or
                 control of the Deponent, including, letters, e-mails, computer files, handwritten
                 notes, calendar pads, appointment books, note pads, notebooks, correspondence of
                 any kind, postcards, memoranda, telegrams, telexes, annual or other reports,
                 financial statements, books, records, ledgers, journals, minutes of all meetings,
                 contracts, agreements, drafts of contracts or agreements, appraisals, analyses,
                 charts, graphs, data sheets, data tapes, computer disks, computer hard drives or
                 readable computer produced interpretations thereof, stenographic notes, tape and
                 disk recordings, tapes, photostats, recordings, photographs, drawings,


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               illustrations, plans and personal interviews, wherever located, whether located
               original or duplicate, and all compilations of the foregoing including binders,
               notebooks, folders and files. All categories of documents described above shall
               include with respect thereto all communications, whether or not expressly stated.
               If a document has been prepared in several copies, or additional copies have been
               made and the copies are not identical (or by reason of subsequent modifications of
               the copy by addition or notations, or other modifications, are no longer identical),
               each non-identical copy shall be deemed to be a separate document for purposes
               of these discovery request.

          I.   "Hawk" means Hawk Investments Holding Ltd.

          J.   The term "Petition Date" shall mean March 15, 2023 which is the date the
               Debtors filed voluntary petitions for relief under Chapter 11 of title 11 of the
               United States Code.

          K.   "Philips" means Koninklijke Philips Electronics N.V.

          L.   "Possession, custody, or control" as used herein shall have the same meaning as in
               Rule 34(a) of the Federal Rules of Civil Procedure.

          M.   The terms "person", "individual", "entity", and "entities" are used interchangeably
               and shall be deemed to include the plural and vice versa. Each of these terms
               shall mean, but are not limited to: (i) any association, or business, legal, or
               governmental entity, including all corporations, partnerships, associations, joint
               ventures, trust, firms, or other business enterprise or legal entity, unless otherwise
               stated; or (ii) surety ship; institution; or government or government agency or
               political subdivision be it foreign or domestic; or (iii) board, committee, group, or
               organization comprised of any of the foregoing or combination thereof; whether
               they be now or previously existing.

          N.   "Rembrandt" means Rembrandt 3D Holding Ltd.

          O.   "SCBV" means SeeCubic B.V.

          P.   "SeeCubic" or "SCI" means SeeCubic, Inc.

          Q.   "SLS" means SLS Holdings VI, LLC.

          R.   "SSG Advisors" means SSG Advisors, LLC.

          S.   "Support", "evidence", "relate to", "relating to", "related to", "referred to",
               "concerning", "pertaining to" and "regarding" shall mean anything which directly,
               or indirectly, concerns, consists of, pertains to , reflects, evidences, describes, sets
               forth, constitutes, contains, shows, underlies, supports, refers to in any manner, is
               or was used in the preparation of, appended to, legally, logically or factually
               connected with, proves, disproves, or tends to prove or disprove.



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          T.      "TRO" means the Temporary Restraining Order entered by on January 4, 2024 in
                  Adversary Proceeding No. 23-0057, styled Stream TV Networks Inc, et al vs.
                  Shadron L. Stastney, et al (ECF No. 119).

          U.      "Trustee" means William A. Homony, Chapter 11 Trustee for the bankruptcy
                  estates of Stream TV Networks, Inc. and Technovative Media, Inc.

          V.      The words "concerning," "concerns," or any other derivative thereof; as used
                  herein includes referring to, responding to, relating to, pertaining to, connected
                  with, comprising, memorializing, commenting on, regarding, discussing, showing,
                  describing, reflecting, analyzing and constituting.

 III.     Documents Requested2

        1.     All Documents and Communications evidencing the Trustee’s efforts to regain
 possession of or otherwise secure the assets of the Debtors. Such Documents and
 Communications shall include, but not be limited to, requests related to the Debtors’ optical
 bonding equipment in China and glasses-free 3D demonstration equipment and other Debtor
 property possessed by SCI, Hawk, or their representatives.

        2.     All Documents and Communications evidencing the Trustee's examination of the
 Distribution Agreements.

         3.      All Documents and Communications evidencing the Trustee's efforts to evaluate
 the claims of Hawk, SLS, and SeeCubic; including, without limitation, any Documents
 pertaining to liquidation, nullification, or satisfaction thereof.

       4.     All Documents and Communications evidencing that the "secured claims" of
 Hawk, SLS, and SeeCubic were not converted to equity.

        5.     All metadata and Documents identifying the source for Exhibit A to the Motion
 for Turnover.

       6.      All Documents and Communications showing that Exhibit A to the Motion for
 Turnover has been used by VSI in any way after the Petition Date.

        7.     All metadata and Documents identifying the source for Exhibit B to the Motion
 for Turnover.

       8.      All Documents and Communications showing that Exhibit B to the Motion for
 Turnover has been used by VSI in any way after the Petition Date.

         9.      All Documents and Communications evidencing the Trustee's review of SSG's
 qualifications and ability to serve as an investment banker on behalf of the Debtors.

          10.     All Documents and Communications involving Marc Dannenberg.
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   To the extent any or all documents or records responsive to this Request are in electronic format, please contact
 the undersigned to arrange for their production.


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        11.   All Communications between the Trustee and SeeCubic, SCBV, Hawk, Arthur
 Robert Leonard Robert Morton, Shadron L. Stastney, or their representatives related to the
 proposed engagement of SSG Advisors, LLC as investment banker.

          12.   All Documents and Communications related to the 9019 Agreement.

        13.      All Documents and Communications evidencing the Trustee’s efforts to confirm
 SCI’s ability to fund the 9019 Settlement Agreement.

         14.     All Documents and Communications regarding the Trustee's efforts to ensure
 SCI, Hawk, and their representatives complied and remain compliant with all governing laws
 implicated by the 9019 Settlement Agreement, including but not limited to applicable securities
 regulations, trade secret laws, or unfair competition statutes.

         15.     All Communications between the Trustee or his representatives and SCI, Hawk,
 or their representatives related to glasses-free 3D demonstrator units, technology demonstrations,
 and presentations describing Stream’s business or assets.

         16.    All Documents and Communications between the Trustee or his representatives
 and Shad Stastney, SeeCubic, SCBV or its representatives related to glasses-free 3D
 demonstrator units made, sold, or otherwise distributed by SCBV. Such Documents and
 Communications shall include, but not be limited to, information required to meet quarterly
 reporting obligations to Philips.

         17.     All Documents and Communications between the Trustee or his representatives
 and any other party regarding the Court’s TRO Order of January 4, 2024, including but not
 limited to the effectiveness or extensions thereof.

        18.     All Documents and Communications regarding the Trustee's efforts to investigate
 TRO violations by Hawk, SeeCubic, SCBV, and SLS or and any related parties or agents,
 including, but not limited to those alleged by VSI in emails on April 13, 2024, May 7, 2024, and
 May 28, 2024.

         19.     All Documents and Communications relating to SCI’s fundraising efforts and
 potential use of the Debtors' assets.

        20.   All Documents and Communications between the Trustee or his representatives
 and SCI, Hawk, or their representatives related to any terms regarding a plan of reorganization
 proposed by VSI.

        21.   All Documents and Communications between the Trustee or his representatives
 and SCI, Hawk, or their representatives related to Rembrandt, the Rembrandt technology, and
 the Rembrandt IP claims.

       22.     All Documents and Communications between the Trustee or his representatives
 and SCI, Hawk, or their representatives related to Philips, the Philips technology, and any
 agreement with Philips.



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          23.   All Documents and Communications regarding the Bidding Procedures Motion.

        24.     All Documents and Communications regarding the Trustee's efforts to secure the
 Debtors' Assets and intellectual property, including trade secrets, from SCI, Hawk, or their
 representatives.




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